                           UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION
In re:

Francetta Boyd,                                               Case No.: 17-47680
                                                              Chapter 13
      Debtor.                                                 Hon. Mark A. Randon
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Francetta Boyd,

         Plaintiff,

v.                                                            Adversary Proceeding
                                                              Case No.: 19-04310

I.C. System, Inc. and
Samer G. Shamoon, D.D.S., P.C.,
        Defendants.
                                       /

          ORDER REGARDING DEFENDANTS’ MOTION TO EXTEND DATES

         This matter is before the Court on Defendants’ motion to extend the final pretrial and trial

dates. The Court held a final pretrial hearing via telephone on June 22, 2020. As such, that

request is DENIED AS MOOT. The Court, however, adjourns the trial date to August 25,

2020, at 10:00 a.m. due to the exigent circumstances created by COVID-19.

         IT IS ORDERED.


Signed on June 22, 2020




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